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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

UNITED STATES OF AMERICA,                           )
                                                    )
                                                    )
               vs.                                  )       Case No. 1:22-CR-00323
                                                    )
RAHEIM HAMILTON,                                    )
                                                    )
                      Defendant.                    )

 DEFENDANT RAHEIM HAMILTON’S WITHDRAWAL WITHOUT PREJUDICE OF
                 MOTION FOR PRETRIAL RELEASE

       Defendant Raheim Hamilton (“Mr. Hamilton”) respectfully withdraws his pending Motion

for Pretrial Release (ECF No. 37). Mr. Hamilton’s withdrawal of the motion is without prejudice

to his ability to move for pretrial release in the future as permitted by law. Undersigned counsel

spoke with counsel for the government in this matter on January 26, 2023, and the government

had no objection to Mr. Hamilton withdrawing the motion without prejudice. Undersigned counsel

also alerted Pretrial Services that Mr. Hamilton’s motion was being withdrawn.            Finally,

undersigned counsel alerted the Court’s Courtroom Deputy to Mr. Hamilton’s planned withdrawal

filing, and counsel understands the Court will proceed with the hearing scheduled tomorrow and

address the withdrawal at that time. Accordingly, undersigned counsel will be present tomorrow.

Date: January 26, 2023                       Respectfully submitted,


                                             /s/William J. Edelman
                                             WILLIAM J. EDELMAN

                                             Attorney for Raheim Hamilton
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                               CERTIFICATE OF SERVICE

The undersigned states that, on January 26, 2023, he caused the above to be served on
counsel of record by way of ECF filing.

                                            Respectfully submitted,

                                            /s/ William J. Edelman
                                            WILLIAM J. EDELMAN

                                            Attorney for Raheim Hamilton




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